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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

JEREMY CORNELL JONES                                             PLAINTIFF

v.                       No. 4:20-cv-923-DPM

ARKANSAS DEPARTMENT OF
CORRECTION, Pine Bluff Work Complex                         DEFENDANT

                                ORDER
     The   Court adopts       Magistrate Judge         Deere's    unopposed
recommendation, Doc. 5, as supplemented.       FED.    R. CIV. P. 72(b) (1983
addition to advisory committee notes). Jones has been released from
custody. Doc. 6. His complaint, Doc. 1, will be dismissed with prejudice
for failure to state a claim. This dismissal counts as a "strike" for
purposes of the Prison Litigation Reform Act. 28 U.S.C. § 1915(g).
     So Ordered.

                                                   I
                                  D .P. Marshall Jr.
                                  United States District Judge
